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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 UNITED STATES OF AMERICA                   §
                                            §           Criminal No. 24-CR-00298
 V.                                         §
                                            §
 EITHAN HAIM                                §

                     X CORP.’S MOTION TO INTERVENE
                     AND OPPOSITION TO USA’S MOTION
                      FOR ISSUANCE OF A GAG ORDER

        X Corp. hereby (1) moves to intervene in this action for the limited purpose

of opposing the Government’s Motion for Issuance of a Gag Order, Dkt. No. 105,

and (2) files this opposition to the Government’s Motion for Issuance of a Gag Order.

I.      Introduction

        Stripped of its rhetoric, the Government’s Motion for an order gagging the

public speech of Defendant Eithan Haim and his counsel seeks to accomplish one

goal: to suppress public reaction to the Government’s use (or abuse) of prosecutorial

discretion in this action. This high-profile criminal case has attracted sharp criticism

(including by Dr. Haim and his counsel) of the Government’s decision to prosecute

a lone Texas physician for blowing the whistle on a medical scandal – criticism that

the Government now characterizes as “the online bullying of prosecutors.” ECF 105

at 6. What irony for this complaint to come from federal prosecutors, whose

awesome powers and nearly limitless resources make them the Goliath to Dr. Haim’s

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David. And it is precisely because of their extraordinary power that prosecutors must

be held accountable to the public and not permitted to hide behind a veil of court-

imposed secrecy through litigation tactics such as sealing their filings from public

view and seeking gag orders against defendants, the actions challenged in this

motion.

      Implicit in the Government’s request for a gag order is an attempt to undercut

the power that X Corp., through its social media platform “X,” has afforded ordinary

citizens to comment on – and indeed, make – the news. Free speech by users on X –

in which X has a First Amendment interest – is a crucial component of public debate

and news dissemination in today’s United States, and this speech is directly at odds

with unlawful prior restraints based on the meager showing set forth in the

Government’s Motion.

      For the reasons discussed herein, X Corp. respectfully requests that the Court

grant its motion to intervene in this action for the limited purpose of opposing the

Government’s Motion for Issuance of a Gag Order and deny the Government’s

Motion.

II.   Background

          a. Proposed Intervenor

      X Corp. is an American technology company that operates a social media

platform known as “X” (formerly known as Twitter). The X platform allows its



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hundreds of millions of unique users to electronically send posts containing text,

images, and/or videos. After creating an account, a user can post their own content

on the platform, and users may also respond to the posts of others, republish the posts

of others, or convey approval or acknowledgment of another’s post by “liking” the

post. All of a user’s posts (sometimes referred to as Tweets) appear on the

“Following” “timeline” of other users who “follow” that user, or may appear in the

“For You” timeline of other users based on algorithmic determinations of what a

user may be interested in. These timelines are continuously updated by the platform

and allow users a convenient method of viewing and interacting with the content.

      The transition from Twitter (X’s predecessor platform) to X has marked a

fundamental change in the media ecosystem in the United States and beyond.

Historically, Americans’ access to news was mediated by a handful of institutional

media companies beholden to the businesses and governments that regularly feature

in the news. X Corp. sought to change this dynamic, in which too often the media –

motivated by self-interest, not pursuit of the truth – obscured rather than illuminated

the actions of the powerful.

      X Corp. provides all its users with tools to create and promote online content.

While users can still write individual posts commenting on the news of the day like

they did on Twitter, they can also publish long-form journalism in the form of videos

and articles and host live broadcasts. Important reporting, analysis, and commentary



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frequently appear on X hours or even days before making their way to traditional

outlets. In short, X is no longer a place for citizens to discuss stories they see in the

legacy media. X is the media, and each of its users is empowered to be a journalist

in their own right.

      For these reasons, and in light of its massive number of active users (over 600

million monthly worldwide) and superior engagement rates, X has aptly been

heralded as the global “town square.” Given the enormous audience and engagement

afforded to X users, X plays a unique and critical role in modern free speech in

America, driving public conversations on newsworthy topics and serving as an

alternative and competitor to legacy media. X Corp. prides itself on providing an

open forum for public debate and discussion, and on its commitment to protecting

free speech within the boundaries of the law.

          b. Relevant Case Background

      On November 20, 2024, the Government filed a motion requesting that the

Court impose a gag order on Dr. Haim and his counsel. ECF 105. Specifically, the

Government asks the Court to prohibit Dr. Haim and his attorneys from making

public statements or talking to the press, other than to “stat[e], without elaboration

or any kind of characterization whatsoever, [t]he general nature of an allegation or

defense made in this case, information contained in the public record of this case,

scheduling information, [or] any decision made or order issued by the court which



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is a matter of public record,” or to “[e]xplain[], without any elaboration or any kind

of characterization whatsoever the contents of substance of any motion or step in the

proceedings [in the public record].” ECF 105 at 4-5. The Government also asks the

Court to prohibit any statement to the press “that could interfere with a fair trial or

otherwise prejudice the Defendant, the Government, or the administration of

justice.” Id.

       In support of its request for these extreme prior restraints, the Government

alludes to “numerous publicly available statements on X” posted by Dr. Haim and

his counsel, and argues that this speech has the possibility to “interfere with a fair

trial or otherwise prejudice the Government or the administration of justice” because

it “disparage[s] the prosecutors” and discusses information that might be excluded

in a one-day jury trial. ECF 105 at 1. The Government accuses Dr. Haim and his

counsel of having “crossed a line, bombarding social media with inaccurate and

inflammatory descriptions of pretrial proceedings that would never be admissible

before a jury,” and characterizes Dr. Haim’s speech as “encourag[ing] the online

bullying of prosecutors and creat[ing] heightened safety risks, serving as invitations

to members of the media and the public to harass prosecutors.” Id. at 5.

       Yet while railing against the content of Dr. Haim’s posts on X and

acknowledging that they are “publicly available, and have been viewed by thousands

(and in some cases, tens of thousands) of users” on X (ECF 105 at 2), the



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Government filed copies of these X posts under seal (ECF 107 and 108), without

any accompanying motion to seal or any explanation of why the exhibits should be

hidden from public view. This filing followed hot on the heels of the Government

filing multiple other documents under seal – including a motion of the Government’s

lead prosecutor to withdraw as counsel of record entirely. ECF 104.

       Although the Government sees no issue in its own public heralding of its

criminal prosecution of Dr. Haim1– and the extreme social stigma a federal criminal

indictment brings – the Government’s recent course of conduct suggests it believes

it, unlike Dr. Haim, is entitled to hide behind a veil of secrecy during the prosecution.

Unfortunately for the Government, decades of constitutional precedent foreclose its

attempt to muzzle Dr. Haim’s ability to express himself in the public square and

require denial of the motion to gag in this case.

III.   Argument

       A.     X Corp. has standing to intervene to oppose the USA’s motion for
              a gag order

       For constitutional standing, a “plaintiff must have suffered an injury in fact”

that is “fairly traceable to the challenged action” and that likely “will be redressed

by a favorable decision.” United States v. Aldawsari, 683 F.3d 660 (5th Cir. 2012)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). In Aldawsari,


1
 See https://www.justice.gov/usao-sdtx/pr/doctor-charged-unauthorized-access-
personal-information-pediatric-patients-texas.

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a journalist sought to intervene to challenge a gag order barring parties to a criminal

prosecution (and their representatives and attorneys) from communicating with the

news media about the case. The government argued that the journalist could not

establish injury in fact because of the failure to establish that anyone bound by the

court’s gag order would be willing to speak with the journalist about the case. Id. at

664. The Fifth Circuit disagreed and held the journalist had standing to present his

constitutional claims, even in the absence of an identified willing speaker, because

the criminal prosecution was “unquestionably newsworthy and of public interest,”

and there was “no dispute” that, if permitted, the journalist would attempt to speak

with the parties or their counsel about the case. Id.

      The Aldawsari court cited Davis v. East Baton Rouge Parish School Bd., 78

F.3d 920 (5th Cir. 1996), which acknowledged a third party’s standing to intervene

to challenge confidentiality orders based on the First Amendment right to receive

protected speech in cases where newsworthiness of the case is not disputed. Davis,

78 3d at 926; see also Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer

Council, Inc., 425 U.S. 748, 757 (1976) (“[W]here a speaker exists…the protection

afforded is to the communication, to its source and its recipients both…we

acknowledge[e] that this Court has referred to a First Amendment right to ‘receive

information and ideas,’ and that freedom of speech ‘necessarily protects the right to

receive.’”)



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      Standing is easily satisfied in this case, as the Government’s gag order seeks

to prevent identified willing speakers (Dr. Haim and his counsel) from publishing

speech regarding a newsworthy topic on X Corp.’s public platform, indeed

specifically citing Dr. Haim and his counsel’s very use of that platform, viewed by

tens of thousands of users according to the government’s own argument, as a basis

for its drastic sought remedy. The effect of the Government’s gag order would be

both to take down content currently on the X platform and to prevent the future

dissemination of similar content on the X platform. That unquestionably impacts

X’s own First Amendment rights. See Moody v. NetChoice, LLC, 144 S.Ct. 2383,

2402 (2024) (holding a social media platform has its “own” interest in “the third-

party speech that will be included in or excluded from” the platform).

      Dr. Haim and his counsel have the right to use the X platform – which is

unique among social media platforms due to its massive public reach (as opposed to

platforms focused on messages among friends and family or that have far fewer

active users and lower engagement rates) – to speak directly to the press, the public,

and influential decision-makers. Likewise, those entities and individuals, including

X Corp. itself, have the right to receive information and ideas communicated about

an important criminal prosecution by its participants. See Virginia State Bd. of

Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. at 757.




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      Indeed, the United States Supreme Court has recognized the critical role the

X platform serves in free speech and public discourse in this country. See, e.g.,

O’Connor-Ratcliff v. Garnier, 601 U.S. 206 (2024) (public official engages in state

action subject to the First Amendment by blocking an individual from the official’s

personal Twitter/X account, which the official uses to communicate job-related

matters to the public); Knight First Amendment Institute at Columbia University v.

Trump, 928 F.3d 226 (2nd Cir. 2019) (President’s blocking of users from his

Twitter/X account because of their expressed political views violated their First

Amendment right to free speech) (vacated as moot sub nom. Biden v. Knight First

Amendment Institute at Columbia University, 141 S. Ct. 1220 (2021)). For these

reasons, X has standing to challenge the government’s gag order request.

      B.     The Government has not met its burden for issuance of a gag order.

      In its Motion, the Government goes through the motions of arguing that Dr.

Haim and his counsel’s statements on X “present a ‘substantial likelihood’ of

prejudicing the court’s ability to conduct a fair trial[.]” ECF 105 at 3 (quoting United

States v. Brown, 218 F.3d 415, 427-28 (5th Cir. 2000)). Yet the Government does

not hide its true motive for seeking a prior restraint on Dr. Haim and his counsel: the

federal prosecutors who brought this case do not want to be criticized on social

media. Indeed, the Government’s real concern appears not to be the fairness of these

proceedings, which are mentioned in passing, but rather, “the online bullying of



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prosecutors.” Id. at 6. As discussed below, the government’s generalized fear of

public criticism stemming from the Government’s use (or abuse) of prosecutorial

discretion is a legally inadequate basis for a gag order, not to mention profoundly at

odds with centuries of precedent supporting the public right of access to court

proceedings other than in narrow circumstances not present here.

      In this case, the Government has attracted sharp criticism for its decision to

prosecute a physician for blowing the whistle on a medical scandal involving a

matter of public interest – permanent, physically altering transgender medical

procedures on children, allegedly in violation of state law. On one side of this dispute

is the mighty federal government, arguing with seemingly infinite resources. On the

other is a single physician and his lawyers, with limited means and power. It is

precisely because of this extraordinary power dichotomy that prosecutors cannot be

allowed to immunize themselves from public comment about their actions. What’s

more, Dr. Haim’s speech is a primary form of redress against the government’s

limitless resources – and X is a force multiplier for that speech. The Government’s

demand that the Court gag Dr. Haim and his counsel to prevent “the online bullying

of prosecutors” – prosecutors who put themselves voluntarily into this position when

they filed a highly political and controversial case – is an invitation that this Court

violate the First Amendment and ignore the fundamental right of the public to

criticize the government and should be rejected.



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      A gag order is an extreme and disfavored remedy. See In re Murphy-Brown,

LLC, 907 F.3d 788, 796–97 (4th Cir. 2018) (“Even among First Amendment claims,

gag orders warrant a most rigorous form of review because they rest at the

intersection of two disfavored forms of expressive limitations: prior restraints and

content-based restrictions.”). The Court should therefore examine whether the

Government made a particularized showing of the kind of facts that warrant a gag

order under governing law. Such an examination here shows the Government fell far

short of making that kind of showing.

      The “Legal Standard” section of the Motion focuses on “the court’s ability to

conduct a fair trial,” explaining that gag orders are appropriate when parties’

extrajudicial statements “threaten to undermine [the] basic tenet that the outcome of

a trial must be de[c]ided by impartial jurors.” ECF 105 at 3 (quoting Brown, 218

F.3d at 427–28 & 429) (some brackets in original) (internal quotation marks

omitted). Despite its accurate recitation of the standard, the Government devotes a

substantial portion of its short motion to its characterization of Dr. Haim and Ms.

Burke’s criticism of the prosecution team (while conveniently filing their actual

statements under seal, leaving the public, including X Corp. and others who may

want to intervene, only with the Government’s self-serving description of their

speech). Yet the Government never even tries to link its discussion of the “online

bullying of prosecutors” to the governing legal standard. As a matter of common



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sense, sharp criticism of prosecutors outside the courtroom does not prevent a fair

trial from taking place. The Government’s inability to cite a single case that indicates

that a defendant who criticizes the prosecutor in a public forum should be gagged

before trial speaks to the Motion’s legal infirmity.

      Contrary to the Government’s groundless suggestion that criticism of the

prosecutors warrants prior restraint, Dr. Haim and his counsel’s speech criticizing

the prosecution is the very kind of speech the First Amendment guards most

vociferously. “[S]peech critical of the exercise of the State’s power lies at the very

center of the First Amendment,” and speech “relating to alleged governmental

misconduct” is “‘speech which has traditionally been recognized as lying at the core

of the First Amendment.’” Gentile v. State Bar of Nevada, 501 U.S. 1030, 1034–35

(1991) (quoting Butterworth v. Smith, 494 U.S. 624, 632 (1990)). “‘[I]t would be

difficult to single out any aspect of government of higher concern and importance to

the people than the manner in which criminal trials are conducted.’” Id. at 1035

(quoting Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 575 (1980)).

“[T]here is a societal interest in having the discretion of the prosecutor’s office

reviewed.” Chicago Council of Laws. v. Bauer, 522 F.2d 242, 253–54 (7th Cir. 1975)

(footnote omitted). This is true even when criticism of government officials is

particularly harsh. See In re Murphy-Brown, LLC, 907 F.3d 788, 798 (4th Cir. 2018)




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(“The judicial process does not run and hide at those moments when public appraisal

of its workings is most intense.”)

         As the Government’s recitation of the legal standard suggests, the critical

inquiry is how a party’s speech would affect the fairness of the trial, not how it would

affect counsel’s feelings. See Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 569

(1976) (“But on the record now before us it is not clear that further publicity,

unchecked, would so distort the views of potential jurors that 12 could not be found

who would, under proper instructions, fulfill their sworn duty to render a just verdict

exclusively on the evidence presented in open court.”). In United States v. Trump,

the D.C. Circuit vacated a portion of the district court’s gag order restricting

President Trump’s ability to discuss Special Counsel Jack Smith, explaining that

Smith, “[a]s a high-ranking government official who exercises ultimate control over

the conduct of this prosecution, . . . is no more entitled to protection from lawful

public criticism than is the institution he represents.” 88 F.4th 990, 1025–26 (D.C.

Cir. 2023), reh’g denied, No. 23-3190, 2024 WL 252746 (D.C. Cir. Jan. 23, 2024)

(citing Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 839 (1978)). The

Government has thus failed to hone its complaints about Dr. Haim and Ms. Burke’s

speech to the inquiry that matters—the effect of their speech on the fairness of the

trial.




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      Perhaps recognizing that a defendant and his counsel’s “online bullying” of

the prosecutor is far from a compelling interest that justifies a gag order, the

Government engages in hyperbolic speculation, suggesting that Dr. Haim and Ms.

Burke’s “online bullying” may “create heightened safety risks, serving as invitations

to members of the media and the public to harass prosecutors.” ECF 106 at 6. The

Government’s Motion is devoid of any evidence suggesting that such safety risks

exist – or are even plausible. Such rank speculation, untethered to even a single

salient example, is insufficient to warrant a gag order. See Nebraska Press Ass’n,

427 U.S. at 569 (“Reasonable minds can have few doubts about the gravity of the

evil pretrial publicity can work, but the probability that it would do so here was not

demonstrated with the degree of certainty our cases on prior restraint require.”).

      The Government’s concern about “online bullying” based on Dr. Haim and

Ms. Burke’s criticism of the prosecution on X is a factual and legal chasm away

from being able to carry the Government’s burden. X and its hundreds of millions

of users, on the other hand, have a right under the First Amendment to hear, assess,

and debate public criticism of the Government’s actions, notwithstanding any

discomfort it may engender in the Government’s agents. For these and other reasons,

the Motion should be denied.




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IV.   Conclusion

      For the foregoing reasons, X Corp., respectfully requests that the Court allow

it to intervene in this case for the limited purpose of moving to oppose the USA’s

Motion for Issuance of a Gag Order (Dkt. No. 105), and to urge that the Court deny

that Motion.

      Date: November 26, 2024         Respectfully submitted,

                                By: /s/John-Paul S. Deol
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                         CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that a true and correct copy of the

above and foregoing document has been filed and served on November 26, 2024,

using the CM/ECF system, which will send notification of such filing to all counsel

of record.


                                      /s/John-Paul S. Deol
                                      John-Paul S. Deol




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